                                                  Case 6:18-bk-03688-KSJ           FORM 1
                                                                                    Doc 29  Filed 08/23/19                 Page 1 of 4                        Page No:     1
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                ASSET CASES

Case No.:                     18-03688                                                                                           Trustee Name:                             Gene T. Chambers
Case Name:                    SHIPLEY, DANIEL B. AND SHIPLEY, NICOLE R.                                                          Date Filed (f) or Converted (c):          06/19/2018 (f)
For the Period Ending:        06/30/2019                                                                                         §341(a) Meeting Date:                     07/27/2018
                                                                                                                                 Claims Bar Date:                          11/19/2018
                                 1                                     2                       3                           4                        5                                          6

                      Asset Description                             Petition/         Estimated Net Value               Property              Sales/Funds                 Asset Fully Administered (FA)/
                       (Scheduled and                             Unscheduled        (Value Determined by               Abandoned             Received by                Gross Value of Remaining Assets
                  Unscheduled (u) Property)                          Value                  Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                    Less Liens, Exemptions,
                                                                                       and Other Costs)

Ref. #
1      6931 OAK WOOD COURT, BROOKINGS,                     $350,000.00                 Unknown                                                             $0.00                                    Unknown
       OR 97415 (CURRY COUNTY, OREGON
Asset Notes:   TRUSTEE IS PURSUING A SHORT SALE WITH CARVEOUT TO ESTATE THROUGH BKGLOBAL.
2        2001 HONDA CIVIC (VIN:                                        $1,175.00                          $0.00                                            $0.00                                           FA
         1HGEM22571L017006)
3        2005 TOYOTA PRIUS (VIN:)                                      $2,275.00                          $0.00                                            $0.00                                           FA
         JTKDE177850030178
4        2010 VW JETTA (VIN:                                           $4,000.00                          $0.00                                            $0.00                                           FA
         3VWRX7AJ5AM106071)
5        HOUSEHOLD GOODS                                                  $800.00                         $0.00                                            $0.00                                           FA
6        ELECTRONICS                                                      $500.00                         $0.00                                            $0.00                                           FA
7        CLOTHES                                                           $75.00                         $0.00                                            $0.00                                           FA
8        JEWELRY                                                          $100.00                         $0.00                                            $0.00                                           FA
9        3 DOGS                                                        Unknown                            $0.00                                            $0.00                                           FA
10       CARGO TRAILER                                                    $500.00                         $0.00                                            $0.00                                           FA
11       LAWN MOWER                                                        $25.00                         $0.00                                            $0.00                                           FA
12       CHECKING ACCOUNT - CHASE                                         $219.90                         $0.00                                            $0.00                                           FA
13       CHECKING -ROGUE CREDIT UNION                                      $76.98                         $0.00                                            $0.00                                           FA
14       SAVINGS ACCOUNT - ROGUE CREDIT                                     $0.44                         $0.00                                            $0.00                                           FA
         UNION
15       BUSINESS CHECKING ACCOUNT -                                       $89.01                         $0.00                                            $0.00                                           FA
         CHASE
16       BUSINESS SAVINGS ACCOUNT - CHASE                                   $0.05                         $0.00                                            $0.00                                           FA
17       SON'S CHECKING ACCOUNT - CHASE                                    $60.48                         $0.00                                            $0.00                                           FA
18       POST PETITION RENT                              (u)                $0.00                     Unknown                                           $2,400.00                                   Unknown


TOTALS (Excluding unknown value)                                                                                                                                               Gross Value of Remaining Assets
                                                                    $359,896.86                           $0.00                                         $2,400.00                                      $0.00
                                                  Case 6:18-bk-03688-KSJ         FORM 1
                                                                                  Doc 29  Filed 08/23/19                      Page 2 of 4                      Page No:     2
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES

Case No.:                    18-03688                                                                                               Trustee Name:                           Gene T. Chambers
Case Name:                   SHIPLEY, DANIEL B. AND SHIPLEY, NICOLE R.                                                              Date Filed (f) or Converted (c):        06/19/2018 (f)
For the Period Ending:        06/30/2019                                                                                            §341(a) Meeting Date:                   07/27/2018
                                                                                                                                    Claims Bar Date:                        11/19/2018
                                 1                                   2                            3                           4                        5                                        6

                     Asset Description                            Petition/              Estimated Net Value               Property              Sales/Funds               Asset Fully Administered (FA)/
                      (Scheduled and                            Unscheduled             (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
                 Unscheduled (u) Property)                         Value                       Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                       Less Liens, Exemptions,
                                                                                          and Other Costs)


Major Activities affecting case closing:
 12/20/2018    CLAIMS REVIEW/OBJECTION COMPLETED
 08/22/2018    M.E. HENKEL, P.A. EMPLOYED AS SPECIAL REAL ESTATE COUNSEL


Initial Projected Date Of Final Report (TFR):   03/31/2019                    Current Projected Date Of Final Report (TFR):       12/31/2019               /s/ GENE T. CHAMBERS
                                                                                                                                                           GENE T. CHAMBERS
                                                           Case 6:18-bk-03688-KSJ          Doc 29           Filed 08/23/19          Page 3 of 4
                                                                                          FORM 2                                                                        Page No: 1
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                         18-03688                                                                                            Trustee Name:                         Gene T. Chambers
Case Name:                       SHIPLEY, DANIEL B. AND SHIPLEY, NICOLE R.                                                           Bank Name:                            Veritex Community Bank
Primary Taxpayer ID #:           **-***6848                                                                                          Checking Acct #:                      ******8801
Co-Debtor Taxpayer ID #:         **-***6849                                                                                          Account Title:
For Period Beginning:            07/01/2018                                                                                          Blanket bond (per case limit):        $32,583,498.00
For Period Ending:               06/30/2019                                                                                          Separate bond (if applicable):


     1                2                           3                                                    4                                                    5                    6                    7

Transaction      Check /                      Paid to/                         Description of Transaction                              Uniform          Deposit            Disbursement             Balance
   Date           Ref. #                   Received From                                                                              Tran Code           $                     $


08/16/2018           (18)    SHIPLEY                                   JULY 2018 RENT                                                  1122-000          $1,200.00                   $0.00                $1,200.00
08/31/2018                   Green Bank                                Bank Service Fee                                                2600-000                 $0.00                $1.12                $1,198.88
10/04/2018           (18)    SHIPLEY                                   AUGUST 2018 RENT                                                1122-000          $1,200.00                   $0.00                $2,398.88

                                                                                          TOTALS:                                                           $2,400.00                 $1.12               $2,398.88
                                                                                              Less: Bank transfers/CDs                                          $0.00                 $0.00
                                                                                          Subtotal                                                          $2,400.00                 $1.12
                                                                                              Less: Payments to debtors                                         $0.00                 $0.00
                                                                                          Net                                                               $2,400.00                 $1.12




                      For the period of 07/01/2018 to 06/30/2019                                                    For the entire history of the account between 08/16/2018 to 6/30/2019

                      Total Compensable Receipts:                        $2,400.00                                  Total Compensable Receipts:                                  $2,400.00
                      Total Non-Compensable Receipt                          $0.00                                  Total Non-Compensable Receipt                                    $0.00
                      Total Comp/Non Comp Receipts                       $2,400.00                                  Total Comp/Non Comp Receipts                                 $2,400.00
                      Total Internal/Transfer Receipts                       $0.00                                  Total Internal/Transfer Receipts                                 $0.00


                      Total Compensable Disbursements:                       $1.12                                  Total Compensable Disbursements:                                 $1.12
                      Total Non-Compensable Disbursement                     $0.00                                  Total Non-Compensable Disbursement                               $0.00
                      Total Comp/Non Comp Disbursements                      $1.12                                  Total Comp/Non Comp Disbursements                                $1.12
                      Total Internal/Transfer Disbursements                  $0.00                                  Total Internal/Transfer Disbursements                            $0.00
                                                          Case 6:18-bk-03688-KSJ         Doc 29             Filed 08/23/19        Page 4 of 4
                                                                                        FORM 2                                                                        Page No: 2
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                         18-03688                                                                                          Trustee Name:                         Gene T. Chambers
Case Name:                       SHIPLEY, DANIEL B. AND SHIPLEY, NICOLE R.                                                         Bank Name:                            Veritex Community Bank
Primary Taxpayer ID #:           **-***6848                                                                                        Checking Acct #:                      ******8801
Co-Debtor Taxpayer ID #:         **-***6849                                                                                        Account Title:
For Period Beginning:            07/01/2018                                                                                        Blanket bond (per case limit):        $32,583,498.00
For Period Ending:               06/30/2019                                                                                        Separate bond (if applicable):


    1                2                           3                                                     4                                                  5                    6                    7

Transaction      Check /                     Paid to/                          Description of Transaction                            Uniform            Deposit          Disbursement             Balance
   Date           Ref. #                  Received From                                                                             Tran Code             $                   $


                                                                                                                                                                                    NET              ACCOUNT
                                                                                        TOTAL - ALL ACCOUNTS                                  NET DEPOSITS                     DISBURSE             BALANCES

                                                                                                                                                          $2,400.00                $1.12                $2,398.88




                     For the period of 07/01/2018 to 06/30/2019                                                   For the entire history of the account between 08/16/2018 to 6/30/2019

                     Total Compensable Receipts:                        $2,400.00                                 Total Compensable Receipts:                                 $2,400.00
                     Total Non-Compensable Receipt                          $0.00                                 Total Non-Compensable Receipt                                   $0.00
                     Total Comp/Non Comp Receipts                       $2,400.00                                 Total Comp/Non Comp Receipts                                $2,400.00
                     Total Internal/Transfer Receipts                       $0.00                                 Total Internal/Transfer Receipts                                $0.00


                     Total Compensable Disbursements:                        $1.12                                Total Compensable Disbursements:                                 $1.12
                     Total Non-Compensable Disbursement                      $0.00                                Total Non-Compensable Disbursement                               $0.00
                     Total Comp/Non Comp Disbursements                       $1.12                                Total Comp/Non Comp Disbursements                                $1.12
                     Total Internal/Transfer Disbursements                   $0.00                                Total Internal/Transfer Disbursements                            $0.00




                                                                                                                                                     /s/ GENE T. CHAMBERS
                                                                                                                                                     GENE T. CHAMBERS
